      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 1 of 28




                IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


DONALD J. TRUMP, in his capacity
as a candidate for President of the
United States,

       Plaintiff,
                                             CIVIL ACTION FILE
V.

                                             N0.1:20-CV-5310-MHC
BRIAN P. KEMP, in his official
 capacity as Governor of the State of
 Georgia; BRAD
 RAFFENSPERGER, in his official
 capacity as Georgia Secretary of
 State,

       Defendants.


                                      ORDER

      This matter is before the Court on Plaintiffs Motion for Expedited and

Declaratory and Injunctive Relief [Doc. 2]. After considering the briefs of the

parties and with the benefit of argument at a hearing conducted by the Court on

January 5, 2021,1 it is hereby ORDERED that Plaintiffs motion is DENIED.




1 Plaintiffs Motion for Expedited Hearing [Doc. 2] was granted and a hearing was
held on January 5, 2021.
       Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 2 of 28




I. BACKGROUND AND PROCEDURAL HISTORY

      On Tuesday, November 3, 2020, an election for President of the United

States was conducted in the United States, including the State of Georgia.

Defendant Brad Raffensperger is the Secretary of State of Georgia, serves as the

"chief election official" of Georgia, and is required by law to certify the votes cast

for all presidential candidates "not later than 5:00 P.M. on the seventeenth day

following the date on which such election was conducted." O.C.G.A.


§§ 21-2-50(b); 20-2-499(b). It is undisputed that Secretary Raffensperger

performed this statutory duty in a timely manner and certified the results of the

presidential election in Georgia on November 20, 2020. Georgia law also requires

Defendant Governor Brian P. Kemp "to certify the slates of presidential electors

receiving the highest number of votes ... no later than 5:00 P.M. on the eighteenth


day following the date on which such [presidential] election was conducted." Id.



2 Prior to this certification, Secretary Raffensperger directed a "risk-limiting audit"
in accordance with Georgia law, which entailed a full hand recount of all ballots
cast in the presidential election. See O.C.G.A. § 21-2-498. Because the margin
after this first recount still was less than one-halfofone percent, Plaintiffs
campaign requested a second recount within two days after the certification of the
election results in accordance with Georgia law. See O.C.G.A. § 21-2-495(c)(l).
The second recount was completed and Secretary Raffensperger re-certified the
results of the November 3, 2020, presidential election on December 7, 2020. Both
recounts upheld the original outcome of the presidential race, which was that
Joseph R. Biden, Jr. was the winner in Georgia.


                                           2
        Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 3 of 28




§ 21-2-499(b). It is undisputed that Governor Kemp performed his duty in a timely

manner and certified Georgia's slate of presidential electors on November 21,

2020.

        Georgia law provides a procedure upon which a result of an election may be

contested. Under O.C.G.A. § 21-2-524(a), a petition to contest the result of an

election must be filed with the clerk of the superior court having jurisdiction within

five (5) days after the certification of the election. On December 4, 2020, Plaintiff,

along with others not parties to this lawsuit, filed a "Verified Petition to Contest

Georgia's Presidential Election Results for Violations of the Constitution and Laws

of the State of Georgia, and Request for Emergency Declaratory and Injunctive

Relief in the Superior Court of Fulton County, Georgia, naming Secretary

Raffensperger as a respondent along with the members of the State Election Board

and a number of county elections officials. Trump v. Raffensperger, Super. Ct. of


Fulton Cnty, No. 2020CV343255 CTrump I") [Doc. 1-1 at 12-75]. However, on

December 8, 2020, the petitioners in Tmmp I voluntarily withdrew their motion for

emergency injunctive relief. Id., Voluntary Withdrawal of Mot. for Emergency

Inj. Relief, filed Dec. 8, 2020.3 Based upon the withdrawal of the petitioners'




3 Although this particular filing was not attached to Plaintiffs Complaint, the
Court may take judicial notice of records filed on the docket in state court cases.
                                           3
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 4 of 28




motion for emergency relief in Tmmp I, Fulton Superior Court Judge Constance C.

Russell issued an order indicating that the election contest "shall proceed in the

normal course." Id,, Dec. 9, 2020, Order on Case Status [Doc. 1-4 at 7].


      The petitioners in Trump I then filed a Notice of Emergency Request to


Appoint an Administrative Law Judge to hear their election contest case, a notice

of appeal of Judge Russell's Order on Case Status to the Supreme Court of

Georgia, and a Second Motion for Emergency Injunctive Relief. Id., Dec. 10,


2020, Notice of Emergency Request to Appoint Admmistrative Law Judge [Doc.

1-4 at 8-12]; Dec. 11, 2020, Notice of Appeal and Intention to Seek Writ of

Certiorari to the Supreme Ct. ofGa. [Doc. 1-4 at 13]; Dec. 11, 2020, Second Mot.

for Emergency Inj. Relief [Doc. 1 -4 at 98- 110]. On December 12, 2020, the

Supreme Court of Georgia dismissed the petitioner's "Emergency Petition for Writ

of Certiorari" which sought emergency injunctive relief. Trump v. Raffenspemer,

Supreme Ct. ofGa., No. S21M0561 [Doc. 1-4 at 17-18]. However, the petitioners


did not dismiss their notice of appeal. On December 29, 2020, Chief Fulton

County Superior Court Judge Christopher S. Brasher issued a status order which

indicated the court would not act on the petitioners' emergency request to appoint



Paez v. Sec'y, Fla. Dep't ofCorr., 947 F.3d 649 (1 1th Cir. 2020) (citing FED. R.
EVID.201(b)(2)).
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 5 of 28




an administrative law judge until the appeal was resolved or withdrawn. Trump I,

Dec. 29, 2020, Status of Request to Appoint Administrative Law Judge [Doc. 1-4

at 19]. The petitioners in Trump I then filed a renewed request for the superior

court to appoint an administrative law judge, indicating their intent to withdraw


their notice of appeal. Id., Dec. 29, 2020, Renewed Request to Immediately

Appoint Administrative Law Judge [Doc. 1-4 at 20-26]. On December 30,2020,

Chief Judge Brasher entered an order re-assigning Trump I to another judicial

administrative district, Senior Judge Adele Grubbs was then appointed to hear the

petitioner's election contest and, on December 31, 2020, Senior Judge Gmbbs set

the matter for hearing and trial on January 8, 2021, at 10:00 A.M. Id., Dec. 30,


2020, Order Reassigning Case to Seventh Judicial Administrative District; Dec. 30,

2020, Order Directing the Clerk to Accept & File the Order Appointing Senior

Judge Gmbbs; Dec. 31, 2020, RuleNisi Order.4

      Plaintiffs motion for expedited declaratory and mjunctive relief asks this

Court to take the unprecedented action of decertifying the results of the

presidential election in Georgia and directing the Georgia General Assembly to




 See n.3, supra.
       Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 6 of 28




appoint presidential electors. Pl.'s Mem. of Law in Supp. of Mot. for Expedited

Declaratory and Injunctive Relief ("PL'S Br.") [Doc. 2-1] at 11.

II. LEGAL STANDARD

      In order to obtain a preliminary injunction, Plaintiff must demonstrate: (1) a

substantial likelihood of success on the merits; (2) that irreparable injury will be

suffered if the relief is not granted; (3) that the threatened injury outweighs the

harm the relief would inflict on the non-movant; and (4) that entry of the relief

would not be adverse to the public interest. Scott v. Roberts, 612 F.3d 1279, 1290

(11th Cir. 2010); Schiavo ex rel. Schindler v. Schiavo, 403 FJd 1223, 1225-26

(11th Cir. 2005). "The burden of persuasion in all of the four requirements is at all

times upon the plaintiff." Ne. Fla. Chapter Ass'n of Gen. Contractors of Am. v.


City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990) (quotation omitted). A

preliminary injunction is "an extraordinary and drastic remedy" and should be

granted only when the movant clearly carries the burden of persuasion as to the

four prerequisites. Four Seasons Hotels & Resorts v. Consorcio Ban*, 320 F.3d


1205, 1210 (11th Cir. 2003); Morsan Stanley BW, Inc. v. Frisbv, 163 F. Supp. 2d

1371, 1374 CN.D.Ga. 2001).
       Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 7 of 28




III. DISCUSSION

      A. Standing

      As a threshold matter, the Court must first consider Plaintiffs standing to

bring his claims in this Court. Plaintiffs two-count Complaint alleges that: (1) in

certifying the November 3, 2020, election results for President, Defendants

violated the "Electors Clause" of the United States Constitution, which provides

that "[e]ach State shall appoint, in such Manner as the Legislature thereof may

direct, a Number of [Presidential] Electors, U.S. CONST. art. II, § 1, cl. 2 (Count I);

and (2) Defendants violated the Fourteenth Amendment's Due Process Clause by

"improperly certif[ymg] the November General Election results while a statutory

election contest was pendmg[.]" (Count II). Compl. ^ 70-75.

      The doctrine of "standing is an essential and michanging part of the case-or-

controversy requirement of Article III." Lujan v. Defs. of Wildlife, 504 U.S. 555,

560 (1992). "The law of Article III standing, which is built on separation-of-

powers principles, serves to prevent the judicial process from being used to usurp

the powers of the political branches." Clapper v. Amnesty Int'l USA, 568 U.S.

398, 408 (2013). "No principle is more fundamental to the Judiciary's proper role

in our system of government than the constitutional limitation of federal-court




                                           7
       Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 8 of 28




jurisdiction to actial cases or controversies." Raines v. Byrd, 521 U.S. 811, 818


(1997) (quotation and citation omitted).

      "In essence the question of standing is whether the litigant is entitled to have

the court decide the merits of the dispute or of particular issues." Warth v. Seldin,


422 U.S. 490, 498 (1975). To demonstrate standing, a plaintiff "must prove (1) an

Injury in fact that (2) is fairly traceable to the challenged action of the defendant

and (3) is likely to be redressed by a favorable decision." Jacobson v. Fla. Sec'v of

State, 974 F.3d 1236, 1245 (11th Cir. 2020) (citation omitted). The elements of

standing are "an indispensable part of the plaintiffs case." Lujan, 504 U.S. at 561.

"[A] plaintiff must demonstrate standing for each claim he seeks to press and for

each form of relief that is sought." Town of Chester, N.Y. v. Laroe Estates, Inc.,


137 S. Ct. 1645, 1647 (2017) (quotation and citation omitted).

             1. Claim Pursuant to the Electors Clause

       Count One of Plaintiff s Complaint alleges that Defendants violated the

Electors Clause by certifying the November 3, 2020, election results when the

election "was not conducted in accord with election laws established by the

Legislature." Compl. ^71. The Electors Clause grants the right to prescribe the

manner in which presidential electors are selected to each state legislature, in this

case the Georgia General Assembly. Id. Therefore, Plaintiffs Electors Clause


                                            8
       Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 9 of 28




claim belongs, if it belongs to anyone, only to the Georgia General Assembly. See

Bognet v. Sec'y Commonwealth of Pa., 980 F.3d 336, 350 (citation omitted)

("Plaintiffs here are four individual voters and a candidate for federal office; they


in no way constitute the General Assembly, nor can they be said to comprise any

part of the law-making processes of Pennsylvania. Because Plaintiffs are not the

General Assembly, nor do they bear any conceivable relationship to state

lawmaking processes, they lack standing to sue over the alleged usurpation of the

General Assembly's rights under the Elections and Electors Clauses.").

      Accordingly, the Court finds that Plaintiff does not have standing to bring a

claim under the Electors Clause based on the facts alleged in his Complaint.

             2. Claim Alleging Fourteenth Amendment Due Process
                   Violation

      Count Two of Plaintiff s Complaint alleges that Defendants violated his

Fourteenth Amendment Due Process rights by improperly certifymg

      the November 3 General Election results while a statutory election
      contest was pending, and which nearly four weeks after filing, is still
      pending without even the assignment of a judge or assignment of a
      court, or the setting of a hearing date for a hearing on the merits.
      Defendant's certification of final results without Plaintiff being
      afforded his statutory right to an election contest violates Due Process.

Compl. ^ 73. The cmx of the claim is Plaintiffs allegation that he has not been

afforded his right to an election contest. Id.
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 10 of 28




      Plaintiffs claim fails to meet the causation and redressability prongs of

Article III standing. "To satisfy the causation requirement of standing, a plaintiffs

injury must be 'fairly traceable to the challenged action of the defendant, and not

the result of the independent action of some third party not before the court."

Jacobson, 974 F.3d at 1253 (quoting Lujan, 504 U.S. at 560). In this case. Plaintiff

has failed to establish that Plaintiffs alleged injury was tied to any alleged action

on the part of Defendants. To the extent that Plaintiff has been deprived of his

ability to contest the general election pursuant to O.C.G.A. § 21-2-524, that


deprivation is due to Plaintiffs own dilatory actions or the action (or inaction) of

the Fulton County Superior Court and has nothing to do with Defendants in this

case. Plaintiff has not made one allegation of any act on the part of Defendants

that thwarted his ability to seek relief in the superior court pursuant to O.C.G.A. §

21-2-524. Plaintiffs claim similarly is deficient with regard to redressability as

Plaintiff is seeking an opportunity to contest the general election pursuant to

O.C.G.A. § 21-2-524, but Defendants are not capable of providing this relief.




 Plaintiffs brief in support of his motion does not address the causation or redress
ability prongs, and Plaintiffs argument that "there is a direct causal connection
between Plaintiffs injury and the relief sought" fundamentally misunderstands the
standard. Compl. ^ 54.


                                           10
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 11 of 28




      Additionally, to the extent Plaintiff alleges that his Fourteenth Amendment

Due Process deprivation is based on the allegation that the general election was

"improperly certified" because "illegal votes" were cast and counted, see Compl.


If 74, Plaintiffs claim still fails to meet the causation and redressability prongs of

Article III standing. In Jacobson, the Eleventh Circuit considered whether voters


and organizations could challenge a statute governing the order in which

candidates appeared on the ballots. Jacobson, 974 F.3d at 1241. The defendant m

that case was the Florida Secretary of State. Id. In analyzing the plaintiffs'

standing to bring a lawsuit for, inter alia, the violation of their Fourteenth

Amendment rights, the court found that the plaintiffs did not have standing because

any injury they might suffer was neither fairly traceable to the Secretary of State

nor redressable by any judgment against the Secretary of State:

      Even if the voters and organizations had proved an injury in fact, they
      would still lack standing because any injury would be neither traceable
      to the Secretary nor redressable by relief against her. Instead, any
      injury would be traceable only to 67 Supervisors of Elections and
      redressable only by relief against them. The voters and organizations'
      failure to join the Supervisors as defendants is an independent reason
      that they lack standing to maintain this action.

      To satisfy the causation requirement of standing, a plaintiffs injury
      must be fairly traceable to the challenged action of the defendant, and
      not the result of the independent action of some third party not before
      the court. The voters and organizations contend that they are injured
      because Republicans, not Democrats, appear first on the ballot in
      Florida's general elections. So for them to have standing, the order in
                                           11
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 12 of 28




      which candidates appear on the ballot must be traceable to the
      Secretary—the only defendant in this action. The problem for the
      voters and organizations is that Florida law tasks the Supervisors,
      independently of the Secretary, with printing the names of candidates
      on ballots in the order prescribed by the ballot statute. The Secretary is
      responsible only for certifying to the supervisor of elections of each
      county the names of persons nominated. The voters and organizations
      have offered no contrary evidence to establish that the Secretary plays
      any role in determining the order in which candidates appear on ballots.
      Because the Secretary didn't do (or fail to do) anything that contributed
      to their harm, the voters and organizations cannot meet Article Ill's
      traceability requirement.

Jacobson, 974 F.3d at 1253 (quotations and citations omitted, internal punctuation

accepted).

      Similarly, in this case, to the extent that Plaintiffs Fourteenth Amendment

injury is alleged to have been caused by the counting of allegedly illegal votes in

the November 3, 2020, general election. Plaintiff has failed to trace that harm to

any action on the part of Defendants. This very issue in the context of alleged

irregularities associated with the processing of Georgia absentee ballots in the

November 3, 2020, general election recently was decided in Ga. Republican Party,

Inc. v. Sec'v of State for Ga, No. 20-14741-RR, 2020 WL 7488181, at *2 (llth

Cir. Dec. 21, 2020). Relying on the holding in Jacobson, the Eleventh Circuit

found that the plaintiffs did not meet the traceability or redressability standing

requirements:




                                           12
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 13 of 28




      Here, as in Jacobson, the Campaigns did not sufficiently allege a
      redressable injury to establish standing. Like in Jacobson, the
      Campaigns sued the Secretary of State. They alleged that the Secretary
      is the state's chief election officer, that he has the authority and
      responsibility to manage Georgia's electoral system, and that he, along
      with the election board members, has the duty to promulgate rules and
      regulations to obtain uniformity in the practices of election officials and
      to ensure a fair, legal, and orderly conduction of elections. But, just as
      in Jacobson, the absentee ballot statute puts the duty to "compare the
      signature" and accept or reject a ballot on the "registrar or clerk"—not
      the Secretary of State.

      Other than being the chief election officer responsible for election laws,
      there is no allegation that the Secretary controls the local supervisors or
      has control over the signature verification process. While the Secretary
      has rulemakmg authority, as in Jacobson, this power is limited to rules
      and regulations that are "consistent with law." O.C.G.A. § 21-2-3 1(2).
      And the law gives the authority to conduct the signature-verification
      process to local supervisors, not the Secretary. Id. § 21-2-386(a)(l)(B).
      The Campaigns' motion for Injunction asks us to do what we said could
      not be done in Jacobson: order a nonparty county official to do
      something contrary to state law. Since the Secretary and the election
      board do not conduct the signature matching process, are not the
      election officials that review the voter's signature, and do not control
      whether the signature matching process can be observed, the
      Campaigns' alleged injury is not traceable to the Secretary. And the
      Secretary does not have the authority to redress it.


IdL, 2020 WL 7488181, at ^2.

      This case is directly analogous. Under Georgia election law, county election

officials are solely responsible for processing, validating, and tabulating both

absentee and in-person ballots. SeeO.C.G.A. §§21-2-386,21-2-493. Therefore,


because Defendants did not have any role in the counting of any allegedly illegal


                                          13
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 14 of 28




votes, Plaintiff is unable to show that any injury he suffered was fairly traceable to

any action on the part of Defendants or redressable by any judgment against

Defendants.


      Accordingly, the Court finds that Plaintiff does not have standing to bring

his claim alleging the violation of his Due Process rights under the Fourteenth

Amendment.


      B. Jurisdiction and Preliminary Injunction Factors

      Assuming that Plaintiff does have standing to bring his claims, the Court

now evaluates those claims to determine whether this Court has jurisdiction to hear

them and, if so, whether Plaintiff has satisfied the four factors to obtain a

preliminary injunction.

              1. This Court Lacks Jurisdiction to Grant the Relief that
                    Sought by Plaintiff.

      As a remedy for the alleged constitutional violations alleged in Plaintiffs

two-count Complaint, Plaintiff seeks an order from this Court (1) declaring that

violations of state and constitutional law occurred during the November 3, 2020,

election in Georgia that render the election results that were certified null and void

and (2) directing the Defendants to decertify the election results. See Compl.




                                           14
       Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 15 of 28




^ 67-68, Prayer for Relief; Pl.'s Br. at 10-11. However, this Court is without

jurisdiction to grant the relief sought by Plaintiff.

                     a. Plaintiffs Attempt to Effectively "Remove" the
                           Election Contest Presently Pending in the Superior
                           Court of Fulton County Must Fail.

       Georgia law provides that "[a] petition to contest the result of a primary or

election shall be filed in the office of the clerk of the superior court having

jurisdiction within five days after the official consolidation of the returns of that

particular office or question and certification thereof." O.C.G.A. § 21-2-524(a).

Federal courts "do not intervene in state election contests for the purpose of


deciding issues of state law." Hubbard v. Ammennan, 465 F.2d 1169, 1181 (5th

Cir. 1972) 6 Plaintiff filed an election contest case before the state court having

exclusive jurisdiction to hear that case, the Superior Court of Fulton County,

raising all of the allegations of fraud that he attempts to bring before this Court.

Plamtiffdoes not challenge the state law providing for the filing of an election

contest; in fact, Trump I is still pending in superior court with a hearing set for

later this week. The sole reason for Plaintiffs attempt to "remove" Trump I to this




6 In Bonner v. City ofPrichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc),
the United States Court of Appeals for the Eleventh Circuit adopted as binding
precedent all decisions of the former Fifth Circuit issued before October 1,1981.


                                            15
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 16 of 28




Court is the purported failure of the superior court to consider his election contest

as expeditiously as he would prefer. Compl. at 11-17. But the delay is Plaintiffs

own doing:


      • Although Secretary Raffensperger certified the presidential election

             results on November 20, 2020, Plaintiff waited until December 4,

             2020, to file his election contest.


      • Plaintiff never sought an order from a judge of a superior court in

             Georgia to alter the statutory deadline for Secretary Raffensperger to

             certify the results for the presidential election; see O.C.G.A.

             § 21-2-499(b) ("Notwithstanding the deadlines specified in this Code

             section, such times may be altered for just cause by an order of the

             judge of superior court of this state.").


      • Plaintiff voluntarily withdrew his motion for emergency relief in

             superior court on December 8, 2020, which sought to stop the re-

             certification of the election results.


      • Plaintiff filed a notice of appeal of Judge Russell's procedural order

             on case status on December 11, 2020 (which would have not been

             filed had Plaintiff not withdrawn his original request for emergency




                                           16
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 17 of 28




             relief), effectively depriving the superior court of jurisdiction to

             consider his second motion for emergency injunctive relief.


      • Plaintiff did nothing for over two weeks after the Supreme Court of

             Georgia denied his emergency petition for writ of certiorari on

             December 12, 2020.


      • After Chief Judge Brasher reminded Plaintiff on December 29, 2020,


             that as long as his notice of appeal was pending, the superior court

             could not hear his election contest. Plaintiff then withdrew his notice

             of appeal on December 30, 2020, after which the superior court

             promptly appointed a judge from outside the judicial district to hear

             the election contest this week.

      Plaintiff offers no authority to support a federal court hijacking a pending

state election contest case under any circumstances, and certainly not when the


failure to expedite was the result of Plaintiff s own actions.

                    b. The Sole Remedy for Objecting to the Counting of
                         Electoral Votes After Certification Lies with the
                         Congress of the United States.

 In fact, even if jurisdiction over this claim existed, it would be within this Court's
discretion to abstain under Colorado River Water Conservation Dist. v. United
States, 424 U.S. 800 0976). In Colorado River, the Supreme Court affirmed the
district court's dismissal of a case with parallel state court proceedings for the
primary purpose of avoiding piecemeal litigation over the issue.


                                           17
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 18 of 28




      Plaintiff seeks an order from this Court decertifying the November 3, 2020,

election results. See CompL, Prayer for Relief^ A, D; Pl.'s Br. at 11 (requesting,

inter alia, that the Court issue an injunction decertifymg the electors certified and

directing the Georgia General Assembly to appoint a new slate of electors).

3 U.S.C. § 15 provides the only process by which the electoral votes are to be

counted and potentially challenged. Specifically, when Congress is m session on

the sixth day of January following a presidential election, after each state's

electoral votes are read to the members of the Senate and the House of

Representatives, "the President of the Senate shall call for objections, if any.

Every objection shall be made in writing, and shall state clearly and concisely, and

without argument, the ground thereof, and shall be signed by at least one Senator

and one Member of the House of Representatives." 3 U.S.C. § 15. The objections


are to be submitted to both the Senate and the House, and "the two Houses

concurrently may reject the vote or votes when they agree that such vote or votes


have not been so regularly given by electors whose appointment has been so

certified." Id. Plaintiff has failed to cite any statite or case that provides for any

mode of challenging electoral votes already certified and counted by the Electoral




                                           18
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 19 of 28




College outside the congressional method outlined in 3 U.S.C. § 15. Thus, this

Court finds no grounds upon which to independently order the decertiflcatlon of

Georgia's election results.


             2. Plaintiff Fails to Establish a Substantial Likelihood of
                    Success of His Claim Under the Electors Clause (Count I).

      Count I of Plaintiff s Complaint alleges in conclusory fashion that

Defendants' certification of the November 3, 2020, election, which Plaintiff alleges

was not performed in accordance with Georgia election laws, was in violation of

Article II, Section 1, clause 2 of the United States Constitution. Compl. If 71

(citing U.S. CONST. art. II, § 1, cl. 2). The Complaint does not elaborate

specifically how the Electors Clause was violated. Plaintiffs brief m support of

his Motion for Expedited Declaratory and Injunctive Relief does little to clarify the

matter. See Pl.'s Mem. of Law in Supp. of Mot. for Expedited Declaratory and


Injunctive Relief ("PL'S Br.") [Doc. 2-1] at 6-8. Plaintiff argues in conclusory

fashion that because Defendants violated the Georgia Election Code they thereby




8 The Court notes that Plaintiff could have petitioned a judge of the superior court
of this state to alter the time under which Governor Kemp was required to certify
the slates of presidential electors, but Plaintiff failed to do so. See O.C.G.A.
  21-2-499(b).


                                          19
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 20 of 28




violated the Electors Clause.9 Id. By certifying an election conducted in violation

of Georgia election law, "Defendants infringed on the exclusive province of the


[Georgia] Legislature under the Electors Clause." Id. at 7.

      The Electors Clause directs state legislatures to appomt presidential electors

in a manner of their choosing. U.S. CONST. art. II, § 1, cl. 2. The Supreme Court


has described this clause as "conveying the broadest power of determination" over

who becomes an elector. Chiafalo v. Washington, 140 S. Ct. 2316, 2324 (2020)

(quoting McPherson v. Blacker, 146 U.S. 1, 27 (1892)). The manner of

appointment among the states is largely uniform as all states use an appointment

process tied to the popular vote, with political parties fielding presidential

candidates having the responsibility to nominate slates of presidential electors. Id.

at 2321-22. The Georgia General Assembly's decision to appoint the state's

presidential electors by popular vote is contained in O.C.G.A. § 21-2-499:


      The Secretary of State shall also, upon receiving the certified returns
      for presidential electors, proceed to tabulate, compute, and canvass the
      votes cast for each slate of presidential electors and shall immediately
      lay them before the Governor. Not later than 5:00 P.M. on the
      seventeenth day following the date on which such election was
      conducted, the Secretary of State shall certify the votes cast for all
      candidates described in subparagraph (a)(4)(A) of Code Section 21-2-

9 Plaintiff also argues that Defendants violated the Elections Clause, but the
Complaint fails to allege a violation of the Elections Clause, U.S. CONST. art. I, §
4,cL 1. PL'S Br. at 6.


                                           20
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 21 of 28




      497 and upon all questions voted for by the electors of more than one
      county and shall no later than that same time lay the returns for
      presidential electors before the Governor. The Governor shall
      enumerate and ascertain the number of votes for each person so voted
      and shall certify the slates of presidential electors receiving the highest
      number of votes. The Governor shall certify the slates of presidential
      electors no later than 5 :00 P.M. on the eighteenth day following the date
      on which such election was conducted. Notwithstanding the deadlines
      specified in this Code section, such times may be altered for just cause
      by an order of a Judge of superior court of this state.

O.C.G.A.§21-2-499(b).


      Plaintiff argues that Defendants' alleged violation of Georgia election laws

means that the "manner" for choosing electors established by the legislature was


not followed and is in violation of Article II of the U.S. Constitution. PL'S Br. at

6-8. This argument confuses and conflates the "manner" of appointing presidential


electors—by popular election—with underlying rules of election administration.

The former implicates the Electors Clause while the latter implicates the Elections

Clause. As used in the Electors Clause, the word "manner" refers to the "[fjorm"


or "method" of selection of the Presidential Electors. Chiafalo, 140 S. Ct. at 2330

(Thomas, J., concurring) (citations omitted). It "requires state legislatures merely

to set the approach for selecting Presidential electors." Id. Put another way, it

refers simply to "the mode of appointing electors—consistent with the plain

meaning of the term." Id.




                                          21
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 22 of 28




      The method for appointing presidential electors chosen by the Georgia

General Assembly is by general ballot at the general election and requires the

Governor to certify the slate of electors for the candidate who receives the "highest

number of votes." O.C.G.A. § 21-2-499(b). There is no dispute that this is

precisely how Defendants determined the appointment of Georgia's presidential

electors. Absent proof that Defendants failed to follow this "manner" of

determining the state's presidential electors, Plaintiff has not and cannot show a

violation of the Electors Clause.

      Although it is clear that Plaintiff has not alleged a violation of the Elections

Clause in his Complaint, see Count I, the argument asserted in support of his

Motion for Expedited Declaratory and Injunctive Relief indicates that he may be

relying on an alleged violation of the Elections Clause In support of his argument

that he is entitled to injunctive relief. Pretermitting any discussion on whether the

absence of any allegation m the Complaint precludes Plaintiff from relying on such

an argument in this Motion, the Court finds that Plaintiff has failed to demonstrate

a substantial likelihood of success on the merits of any such claim.

      The Elections Clause, U.S. CONST. art. I, § 4, cl. 1, provides that "[t]he


Times, Places and Manner of holding Elections for Senators and Representatives,

shall be prescribed in each State by the Legislatoe thereof." This provision vests


                                          22
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 23 of 28




authority in the individual states to regulate the mechanics of federal elections.

Foster v. Love, 522 U.S. 67, 69 (1997). Plaintiff alleges that Defendants ignored

the Georgia Legislature's express directions regarding the collection, handling,

processing, canvassing, and counting of absentee ballots, and related activities

and/or through improper certification of elections and/or electors and related

activities by and through implementation of an unconstitutional settlement

agreement,"10 in violation of the Georgia Election Code and "thereby also violated

the Electors and Elections Clauses." Pl.'s Br. at 6. Put another way, Plaintiff


argues Defendants usurped the role of the Georgia General Assembly—and

thereby violated the United States Constitution—by implementing a settlement

agreement that provided additional safeguards regarding absentee ballots not found

in the Georgia Election Code.

      As Georgia's Secretary of State, Defendant Raffensperger is "the state's


chief election official." Compl. ^ 3; O.C.G.A. § 21-2-50 (recognizing that the

Secretary of State is the "state's chief election official."). In this position, he is



10 The "settlement agreement" refers to "a March 2020 'Compromise and
Settlement Agreement and Release' . . . agreed to by Secretary Raffensperger and
the State Election Board in response to litigation filed by Democratic Party of
Georgia, Inc., the Democratic Senatorial Campaign Committee, and the
Democratic Congressional Campaign Committee" that dealt with the process by
which absentee votes are verified. Compl. ^13.


                                            23
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 24 of 28




permitted "[t]o formulate, adopt, and promulgate such rules and regulations,

consistent with law, as will be conducive to the fair, legal, and orderly conduct of

primaries and elections." O.C.G.A. §21-2-31. A similar challenge to the


settlement agreement was recently considered and rejected in this district. As

Judge Steven D. Grimberg found, the implementation of the settlement agreement

"is a manifestation of Secretary Raffensperger's statutorily granted authority. It

does not override or rewrite state law. It simply adds an additional safeguard to

ensure election security by having more than one individual review an absentee

ballot s information and signature for accuracy before the ballot is rejected."

Wood v. Raffensperser, No. 1:20-CV-04651-SDG, 2020 WL 6817513, at * 10

(N.D. Ga. Nov. 20, 2020), affd, 981 F.3d 1307 (1 1th Cir. 2020). State legislatures

"possess the authority to delegate their authority over elections to state officials in

conformity with the Elections and Electors Clauses" like the Georgia General

Assembly did in giving the Georgia Secretary of State authority to enter into the

settlement agreement under O.C.G.A. § 21-2-31. See id. at *10 (citing Ariz. State


Legislature v. Ariz. Indep. Redistricting Comm'n, 576 U.S. 787, 816 (2015) ("The

Elections Clause [ ] is not reasonably read to disarm States from adopting modes of

legislation that place the lead rein in the people's hands . .. it is characteristic of

our federal system that States retain autonomy to establish their own governmental


                                            24
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 25 of 28




processes."); see also Connan v. Torres, 287 F. Supp. 3d 558, 573 (M.D. Pa. 2018)

("The Elections Clause, therefore, affmnatively grants rights to state legislatures,

and under Supreme Court precedent, to other entitles to which a state may,

consistent with the Constitution, delegate lawmaking authority."). This Court

agrees with Judge Grimberg's analysis.

      Accordingly, the Court finds that Plaintiff has failed to demonstrate a

substantial likelihood of success of any claim under the Electors or Elections

Clauses.


             3. Plaintiff Fails to Establish a Substantial Likelihood of
                    Success of His Fourteenth Amendment Claim (Count II).

      Count II of Plaintiff s Complaint alleges that Defendants violated due

process by improperly certifying the November 3, 2020, general election results

while a statutory election contest was pending. Compl. ^ 73. The Complaint does

not mdicate If Plaintiff s due process challenge is procedural or substantive and his

brief filed in support the Motion for Expedited Declaratory and InJunctive Relief

does not clarify the matter. Pl.'s Br. at 8. Plaintiff argues that the election contest

filed in Trump I "alleges there are enough illegal votes sufficient to either change

the outcome or to place the result of that election in doubt, as well as constitutional

claims under equal protection and due process clauses of State Constitutions." Id.

But, once again, Plaintiff fails to show that the election contest process in superior
                                           25
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 26 of 28




court does not provide him with available relief should he present sufficient


evidence as to the presence of sufficient illegal votes. As previously discussed,

any delay in having the superior court render a decision in Trump I is due to

Plaintiffs own actions in that litigation.

      B. Irreparable Injury

      Plaintiff has not shown that he is likely to suffer the irreparable hann

required to merit mjunctive relief. 'The basis ofinjunctive relief in the federal

courts has always been irreparable harm and inadequacy of legal remedies.

Beacon Theatres, Inc. v. Westover, 359 US. 500, 506-07 (1959). Here, there is a


clear, legal remedy for the injuries alleged, and it does not lie with this Court.

Pursuant to 3 U.S.C. § 15, Congress will convene in Joint Session on January 6,


2021, and it will count and certify the electoral votes. The same statute provides

the means for members of Congress to object to the count and reject any electoral

votes deemed to be invalid. 3 U.S.C. § 15. Plaintiff asserts that harm will be

irreparable if this Court does not act before Congress is given the opportunity to

carry out its statutorily mandated duty, but this argument presumes that the federal

statutory remedy under 3 U.S.C. § 15 is inadequate.


       Moreover, as discussed by the Court, Plaintiffs delay in seeking mjunctive

relief in this Court principally was due to his failure to: (1) file an election contest


                                             26
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 27 of 28




petition right after Secretary Raffensperger's certification on November 20, 2020;

(2) request that a superior court Judge delay the certification of the election and/or

the slate of presidential electors; and (3) withdraw a notice of appeal which

prevented the superior court from conducting a hearing on his election contest on a

more expedited basis. See Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1249


(11th Cir. 2016) (finding that delay in seeking a preliminary injunction goes to the

irreparable harm prong). The Complaint also fails to explain how, even if this

Court granted the relief requested, Plaintiff will avoid any specific harm. The State

of Georgia has sixteen (16) votes in the electoral college. If this Court did grant

the relief requested, it would not change the result of the November 3,2020,

Presidential Election that Joseph R. Biden, Jr. obtained the 270 or more electoral

votes needed for election as President.


      C. Balance of Equities and Public Interest

      The Court finds that the threatened injury to Defendants as state officials

and the public at large far outweigh any burden on Plaintiff. Plaintiff seeks an

extraordinary and unprecedented remedy: the decertification of the votes cast in the

presidential election, after millions of people lawfully cast their ballots. To

interfere with the result of an election that has already concluded and has been

audited and certified on multiple occasions would be unprecedented and harm the


                                          27
      Case 1:20-cv-05310-MHC Document 18 Filed 01/05/21 Page 28 of 28




public in countless ways. See Wood. 2020 WL 6817513, at *13 (citing Sw. Voter

Registration Educ. Project v. Shelley, 344 F.3d 914, 919 (9th Cir. 2003)).

Granting injunctive relief here would breed confusion, undermine the public's trust

in the election, and potentially disenfranchise of millions of Georgia voters.

IV. CONCLUSION

      For the foregoing reasons. It is hereby ORDERED that Plaintiffs Motion

for Expedited Declaratory and Injunctive Relief [Doc. 2] is DENIED.

      IT IS SO ORDERED this 5th day of January, 2021.




                                        MARK H. COHEN
                                        United States District Judge




                                          28
